            Case 3:21-cv-00173-KC Document 81 Filed 01/12/22 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

                                                §
 UNITED STATES OF AMERICA,
                                                §
                                                §
      Plaintiff,                                §
                                                §
                                                §
 v.                                             §    CAUSE NO. EP-21-CV-173-KC
                                                §
                                                §
 THE STATE OF TEXAS and GREG                    §
 ABBOTT, in his official capacity as            §
 Governor of the State of Texas,                §
                                                §
                                                §
      Defendants.                               §


 ANNUNCIATION HOUSE; ANGRY                      §
 TIAS & ABUELAS OF THE RIO                      §
 GRANDE VALLEY; JENNIFER                        §
 HARBURY; and FIEL HOUSTON,                     §
                                                §
      Plaintiffs,                               §
                                                §
 v.                                             §    CAUSE NO. EP-21-CV-178-KC
                                                §
 GREG ABBOTT, in his official                   §
 capacity as Governor of the State of           §
 Texas; and STEVEN MCCRAW, in                   §
 his official capacity as Director of the       §
 State of Texas Department of Public            §
 Safety,                                        §
                                                §
      Defendants.                               §

                                            ORDER

         On this day, the Court considered Plaintiffs Angry Tias & Abuelas of the Rio Grande

Valley, Annunciation House, FIEL Houston, Jennifer Harbury’s (“Nonprofit Plaintiffs”) Motion

for Preliminary Injunction (“Motion”), ECF No. 58. In their Motion, the Nonprofit Plaintiffs


                                            1
          Case 3:21-cv-00173-KC Document 81 Filed 01/12/22 Page 2 of 2




seek to enjoin Defendants from enforcing Executive Order GA-37, arguing that they are likely to

succeed on the merits of their constitutional challenge to GA-37, Mot. 8–18, and that absent an

injunction, they will suffer irreparable harm, Mot. 18–20. The Nonprofit Plaintiffs thus ask the

Court to “enjoin the executive order in its entirety.” Mot. 20.

       On August 26, 2021, the Court granted Plaintiff United States of America’s Emergency

Motion for a Temporary Restraining Order or Preliminary Injunction in this case. ECF No. 52.

There, the Court ordered that “Defendants, their agents, officers, and employees, and all other

persons and entities in active concert or participation with them are enjoined from taking any

action to enforce the executive order.” Id. at 18. The Court further ordered that the “preliminary

injunction shall remain in force until resolution of this action on the merits.” Id. at 19. As such,

the Court has already issued the preliminary relief sought by the Nonprofit Plaintiffs in this

Motion. Therefore, the Nonprofit Plaintiff’s Motion, ECF No. 58, is DENIED as moot.

       SO ORDERED.

       SIGNED this 12th day of January, 2022.




                                              KATHLEEN CARDONE
                                              UNITED STATES DISTRICT JUDGE




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